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         IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF GEORGIA
                   ALBANY DIVISION

Mathew Whitest, et al.,
                                         Case No. 1:17-cv-109-LAG
       Plaintiffs,
                                         Whitest Plaintiffs’ Reply
 vs.
                                         in Support of their Motion
Crisp County School District,            to Reopen the Case and
et al.,                                  Enter Final Judgment
       Defendants.


       The Whitest plaintiffs respectfully submit this reply in support of

their motion to reopen the case and enter final judgment. (ECF 184.) The

Crisp County Board of Elections and Registration does not oppose the

motion. The Crisp County School District does. (ECF 185.) Because the

School District’s arguments lack merit, the Court should grant the

Whitest plaintiffs’ motion and enter final judgment.

       This Court previously granted the Whitest plaintiffs’ motion for

summary judgment. (ECF 119.) Even so, the clerk never entered a final

judgment in the plaintiffs’ favor. That may have been an oversight or

inadvertence, but it was a mistake in any case. The Court should correct
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that mistake, direct the clerk to enter the judgment that this Court has

already granted, and close the case for good.

      Notably, the School District didn’t appeal the Court’s grant of

summary judgment. It hasn’t sought relief from that judgment under

Rule 60. The School District merely argues that the Court should not

enter final judgment because it has complied with the Court’s remedial

injunction. (ECF 185 at 3.)

      Maybe so, but that’s no reason to forestall final judgment. Indeed,

failing to enter final judgment and a permanent injunction would leave

the School District free to re-adopt the method of election that this Court

has already found to discriminate against Black voters. And dismissing

the case, as the School District requests, would likely prolong this case

for years to come.

      The School District also argues that the Court should not enter a

permanent injunction and final judgment here because that would

constitute “further relief” to which the plaintiffs are not entitled. (ECF

185 at 3-4.) Not so. A final judgment is not “further relief” here but only

the relief to which the plaintiffs are already entitled by virtue of the

Court’s grant of summary judgment and finding that the challenged



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method of electing school-board members is discriminatory. Such relief is

standard in voting cases. See, e.g., Amended Judgment, Wright v.

Sumter Cnty. Bd. of Elections and Registration, 14-cv-42-WLS (M.D. Ga.

Jan. 31, 2020) (ECF 280) (entering judgment for the plaintiff following

the entry of a remedial order in a case under Section 2 of the Voting

Rights Act). The School District hasn’t identified a single case in which a

court granted summary judgment but failed to enter a final judgment

under similar circumstances.

      Accordingly, the Court should reopen the case and direct the clerk

to enter final judgment in the plaintiffs’ favor.



Dated: May 29, 2024

/s/ Bryan L. Sells
Georgia Bar No. 635562
The Law Office of Bryan L. Sells, LLC
Post Office Box 5493
Atlanta, Georgia 31107-0493
Telephone: (404) 480-4212
Email: bryan@bryansellslaw.com

Attorney for the Whitest Plaintiffs




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                        Certificate of Service

      I hereby certify that I have filed the foregoing document with the
Clerk of Court using the CM/ECF system, which will automatically send
email notification of the filing to the following attorneys of record:

Phillip L. Hartley: phartley@hhhlawyers.com
Hieu N. Nguyen: hnguyen@hhhlawyers.com
Frank B. Strickland: fstrickland@taylorenglish.com
Bryan P. Tyson: btyson@taylorenglish.com

      I further certify that I have served the foregoing document by U.S.
Mail on the following non CM/ECF participants:

Crandall Postell                      Kenya Williamson
311 1st Avenue West                   505 South 14th St
Cordele, GA 31015                     Cordele, GA 31015

George Whitehead, Jr                  Sarah Williamson
505 South 14th St                     505 South 14th St
Cordele, GA 31015                     Cordele, GA 31015

Betty Jean Williamson
305 24th Ave West Apt E
Cordele, GA 31015

Dated: May 29, 2024

/s/ Bryan L. Sells
Attorney for the Whitest Plaintiffs




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